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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


    GOVERNMENT’S OPPOSITION TO THE MOTION OF DEFENDANT PAUL J.
      MANAFORT, JR.’S MOTION TO MODIFY CONDITIONS OF RELEASE

       The United States of America, by and through Special Counsel Robert S. Mueller III,

submits this response in opposition to defendant Manafort’s motion to modify bail conditions.

See ECF #66. Manafort’s counsel correctly represented in his November 30, 2017, submission

the government’s general consent to the bail package as of the time it was made to this Court.1

But as we promptly alerted the defense later that same day, the government learned facts that are

pertinent to the bail determination before the Court. We thus promptly made an application to this

Court to respond on December 4, 2017 to the Court’s Order (ECF #69). Because bail is

substantially about trust—in particular, whether the Court can trust that a defendant will abide by

the combination of conditions designed to assure his appearance as required, see 18 U.S.C.

§ 3142(c)(1) and (f)— and because the newly discovered facts cast doubt on Manafort’s

willingness to comply with this Court’s Orders, Manafort’s proposed bail package does not

provide the reasonable assurance required by the Bail Reform Act.

       Manafort Ghostwrites an Op-Ed to Influence Public Opinion

       The government’s opposition to Manafort’s motion is based on facts that the government


       1
         The government, however, was planning to propose certain additional conditions to the
bail proposed by Manafort, noted below. See infra at 3 n.4.
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learned late last week. Cf. United States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996) (parties

may proceed by proffer in bail proceedings). As late as November 30, 2017, Manafort and a

colleague were ghostwriting an editorial in English regarding his political work for Ukraine.

Manafort worked on the draft with a long-time Russian colleague of Manafort’s, who is currently

based in Russia and assessed to have ties to a Russian intelligence service. 2

        As the Court is aware, at the first appearance before this Court with Manafort present, the

Court admonished all of the parties not to try the case in the press. See Nov. 2, 2017 Tr. 6-8 (Court

explains that “this is a criminal trial, . . . not a public relations campaign”). At that time, Manafort

had through counsel made statements to the press after his initial appearance. The Court also gave

the parties an opportunity to object to a proposed court Order prohibiting such out-of-court

statements in order to protect the fairness of the upcoming trial. Id. at 7-8. No party objected, and

on November 8, 2017, the Court entered an unopposed Order pursuant to LCrR 57.7 that barred

the parties and counsel, among others, from making statements that could interfere with the fair

trial to which the government and the defense are entitled. See ECF#38 at 1-2 (ordering the parties

to “refrain from making statements to the media or in public settings that pose a substantial

likelihood of material prejudice to this case”).

        Even if the ghostwritten op-ed were entirely accurate, fair, and balanced, it would be a

violation of this Court’s November 8 Order if it had been published. 3 The editorial clearly was

undertaken to influence the public’s opinion of defendant Manafort, or else there would be no



        2
           The government separately has filed a motion seeking permission to submit documentary
evidence supporting this proffer under seal. We have not submitted it herein so as not to result in
the full draft op-ed thereby becoming public.
         3
            On the evening of November 30, the government alerted defense counsel to the
defendant’s efforts and were assured that steps would be taken to make sure it was no longer going
to be published.

                                                   2
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reason to seek its publication (much less for Manafort and his long-time associate to ghostwrite it

in another’s name). It compounds the problem that the proposed piece is not a dispassionate

recitation of the facts.

         The Court Should Deny Manafort’s Current Motion to Modify His Conditions of Release

         Because Manafort has now taken actions that reflect an intention to violate or circumvent

the Court’s existing Orders, at a time one would expect particularly scrupulous adherence, the

government submits that the proposed bail package is insufficient reasonably to assure his

appearance as required. See 18 U.S.C. § 3142(c) and (f). The government’s prior general consent

to the bail package presupposed that Manafort was complying with the Court’s existing Orders.

         The deficiencies in the proposed bail package, in light of this new information, warrant

such a finding. The proposed bail package does not provide for a surety who is not a close family

member. It does not provide for GPS monitoring. And it does not provide for a fully secured bond

of unencumbered real estate. The Bridgehampton property, which is the largest of the assets in the

proposed bail package, is already subject to forfeiture in the Indictment, and has a lis pendens filed

against it. 4

         Although the Court could potentially address some of the deficiencies, the defendant has

now demonstrated that he is willing to violate a Court Order and the Pretrial Services admonitions




         4
          With respect to the proposed bail package, absent the new factual information, the
government was going to request that the Court also: (1) make the bond forfeitable upon a breach
of any condition of the defendant’s release, not just his failure to appear (a provision that is on the
Court’s standard form but is not checked off in the submission made by the defense), see, e.g.,
United States v. Gigante, 85 F.3d 83, 85 (2d Cir. 1996) (per curiam); and (2) order that, each week,
the defendant report to Pretrial Services where he will be located during the upcoming week,
including details of any planned travel and where he will be staying; and (3) provide
documentation as to the ownership of Summerbreeze LLC (the listed owner of the Bridgehampton
property) and Jesand LLC (the listed owner of the Baxter Street property) so that the Court can be
assured that all owners are consenting to the posting of the assets.
                                                  3
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that are a part of pretrial process. Cf. United States v. Kerik, 419 F. App’x 10, 14 (2d Cir. 2011)

(unpublished) (noting that the defendant’s violation of a protective order “had caused the court to

take the extraordinary action of revoking bail for a former Police Commissioner of the City of

New York because it could no longer trust him to comply with court orders intended to ensure a

fair and impartial jury”).

       Accordingly, while the government is not seeking remand, the government opposes

Manafort’s current motion to modify the conditions of his release. In the event the Court disagrees,

the government respectfully requests a fully secured bond, the posting of assets not subject to

forfeiture, full-time GPS monitoring, and the conditions noted in footnote 4.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: December 4, 2017                       By:    __/s/__Andrew Weissmann___
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